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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                      Case No. 1:09-cr-116
v.
                                                      HONORABLE PAUL L. MALONEY
DEBRA HOMAN,

                  Defendant.
_________________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States Magistrate

Judge Ellen S. Carmody in this action. The Report and Recommendation was duly served on the

parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge (Dkt. #64) is approved

and adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count Two of the Indictment.

       3.      Pursuant to the stipulation of the parties, Defendant shall be detained pending

sentencing. Defendant shall report to the United States Marshal in Grand Rapids, Michigan, at

12:00 p.m., Friday, August 21, 2009 and her bond will be revoked at the time of reporting.

       4.      The written plea agreement is hereby continued under advisement pending

sentencing.



Date: August 13, 2009                                  /s/ Paul L. Maloney
                                                      Paul L. Maloney
                                                      Chief United States District Judge
